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                             UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

Julianne Taaffe, et al.,

       Plaintiffs,
                                                          Civil Action No. 2:15-cv-2870
          v.
                                                          Magistrate Judge Vascura
Michael V. Drake, et al.,

       Defendants.

                                      ENTRY OF DISMISSAL

       Pursuant to the terms of the Settlement and Release Agreement reached by the parties in this

matter, this case is hereby dismissed with prejudice, subject to this Court’s reservation of jurisdiction

to enforce the terms of their Agreement. The parties’ Settlement and Release Agreement is attached

to this Order as Exhibit One.

       IT IS SO ORDERED.


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                                               Chelsey M. Vascura
                                               United States Magistrate Judge
